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(212) 594-5000
Frank A. Oswald
Jared C. Borriello

Attorneys for Arie Genger

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 7
                                                               :
ORLY GENGER,                                                   :   Case No. 19-13895 (JLG)
                                                               :
                                    Debtor.                    :
                                                               :
---------------------------------------------------------------X
DALIA GENGER,                                                  :
                                                               :
                                    Plaintiff,                 :
         v.                                                    :   Adv. Pro. No. 20-01010 (JLG)
                                                               :
ORLY GENGER, MICHAEL BOWEN, ARIE :
GENGER, ARNOLD BROSER, DAVID                                   :
BROSER, ERIC HERSCHMANN, THE                                   :
GENGER LITIGATION TRUST, ADBG LLC, :
TEDCO INC., and DEBORAH PIAZZA as                              :
Chapter 7 Trustee,                                             :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

                      NOTICE OF APPEARANCE AND REQUEST FOR
                     SERVICE OF NOTICES AND OTHER DOCUMENTS

                 PLEASE TAKE NOTICE that the undersigned hereby appears as counsel

to Arie Genger in the above-captioned adversary proceeding and, pursuant to section

1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002,

9007 and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

requests that copies of any and all notices, pleadings, motions, orders to show cause,
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applications, presentments, petitions, memoranda, affidavits, declarations, orders, or

other documents, filed or entered in this case be given and served upon:

                           TOGUT, SEGAL & SEGAL LLP
                           One Penn Plaza, Suite 3335
                           New York, New York 10119
                           Attention:  Frank A. Oswald, Esq.
                                       Jared C. Borriello, Esq.
                           Telephone: (212) 594-5000
                           Facsimile:  (212) 967-4258
                           Email:      frankoswald@teamtogut.com
                                       jborriello@teamtogut.com


               PLEASE TAKE FURTHER NOTICE that the foregoing demand includes

not only the notices and papers referred to in the Bankruptcy Rules and Bankruptcy

Code provisions set forth above, but also includes, without limitation, orders and

notices of any hearings, conferences, application, motion, petition, pleading, request,

complaint or demand, whether formal or informal, whether written or oral, and

whether transmitted, conveyed by mail, hand delivery, telephone, telegraph, telex,

e-mail or otherwise.

DATED: New York, New York
       June 25, 2020

                                         Respectfully submitted,

                                         TOGUT, SEGAL & SEGAL LLP
                                         Attorneys for Arie Genger
                                         By:

                                         /s/ Frank A. Oswald
                                         FRANK A. OSWALD
                                         JARED C. BORRIELLO
                                         One Penn Plaza, Suite 3335
                                         New York, New York 10119
                                         (212) 594-5000




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